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                                                               MOSER LAW FIRM, PC
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                                                     July 6, 2023

VIA ECF

Hon. Stewart D. Aaron, USMJ
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

       Re:     Alvarez v Kelco Landscaping, Inc et al, Case No. 21-cv-09014-PAE-SDA

Dear Judge Aaron:

      I write on behalf of the Opt-In Plaintiffs Yime Hernandez a/k/a Jimmy Hernandez and
Alex Manzanarez.

       As pointed out by the Defendants on May 23, 2023, an email from Jimmy Hernandez has
advised us that he is “dropping out of the lawsuit”. See ECF No. 148-2. Furthermore, Alex
Manzanarez indicated that he wants to “withdraw from the Alvarez v. Kelco lawsuit.” See ECF
No. 148-1. Therefore, I respectfully request that the consent forms of Yime Hernandez a/k/a
Jimmy Hernandez (ECF No. 125) and Alex Manzanarez (ECF No. 118) be withdrawn.

                                                     Respectfully submitted,

                                                     Steven J. Moser
                                                     Steven J. Moser
CC:    Yime Hernandez
       48 Nostrand Avenue
       Brentwood, NY 11717

       Alex Manzanarez
       66 Laurie Road
       Brentwood, NY 11717

                                    CERTIFICATE OF SERVICE
I, Shirley Navarro-Losito, hereby certify under the penalty of perjury that on July 6, 2023 I send
a copy of this letter via first class mail to Yime Hernandez and Alex Manzanarez at their
addresses of record listed above.

Dated: July 6, 2023
                                                      ID RAaf4AqrmuvAME3UrTNbA7uL


                                                     Shirley Navarro-Losito
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eSignature Details

Signer ID:       RAaf4AqrmuvAME3UrTNbA7uL
Signed by:       Shirley Navarro-Losito
Sent to email:   shirleylosito@moserlawfirm.com
IP Address:      173.52.37.110
Signed at:       Jul 6 2023, 11:43 am EDT
